        Case 1:22-cv-00243-N/A Document 1               Filed 08/19/22     Page 1 of 1


                                                                                          FORM 4

                UNITED STATES COURT OF INTERNATIONAL TRADE


SENECA FOODS CORPORATION,

                             Plaintiff,

                             v.                                           Case No. 22-00243

UNITED STATES,                                                            SUMMONS

                              Defendant.


TO:    The Above-Named Defendant:

       You are hereby summoned and required to serve on plaintiffs' attorneys, whose names and

address are set out below, an answer to the complaint which is herewith served on you, within 60

days after service of this summons on you, exclusive of the day of service. If you fail to do so,

judgment by default will be taken against you for the relief demanded in the complaint.


                                                  /s/ Mario Toscano
                                                 Clerk of the Court


                                                  COVINGTON & BURLING LLP
 Ja e M. Smith                                    One CityCenter
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                                                  Washington, D.C. 20001
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